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EXhibit 9

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STATEMENT oF WILLIAM J. Fox
DIRECTOR
FINANCLAL CRIMES ENFoRcEMENT NETwoRK
UNITED STATES DEPARTMENT oF THE TREASURY
BF.FoRE THE
UNITED STATES HoUSE oF REPRESENTATIVES

CoMMlTTEE oN FlNANCIAL SERVICES
SUBCoMMITTEE oN OvERslGHT AND INVEST!GATIoNS

June l6, 2004

Madam Chairman, Congressman Gutierrez, and distinguished
members of the Committee, thank you for the opportunity to appear before
you today to discuss our vision for the Financial Crimes Enforcement
Network. This is my first opportunity to appear before a House Committee,
and I Would like you to know that I consider it a great honor to be here. We
very much appreciate the leadership and commitment of the House Financial
Services Committee - particularly this Subcommittee on Oversight - on the
important issues that are the focus of today’s hearing. We also appreciate
the diligent work of your staff - both majority and minority. They have
been great to work with and, in my view, are serving you well. I have a
prepared statement that we have submitted for the record. I will keep these

remarks brief.

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Madam Chairman, I was appointed to be FinCEN’s fourth Director in
December 2003. Before I came to FinCEN, I was the principal assistant to
David Aufhauser as he led the Treasury Department and the Government on
issues relating to the financing of terror. Working with David, I quickly
gained a very keen appreciation for the importance of what has been referred
to as the “financial” front of the war against terrorism. That importance can
be stated quite simply: money does not lie. A good part of the time,
financial intelligence i_s actionable intelligence It can be extremely useful
for identifying, locating and capturing terrorists and defining their networks;
and, just as important, financial intelligence can lead to effective strategic
action that stops or disrupts the flow of money to terrorists and their
networks, which, in turn, serves to halt or impede terrorist operations

The Financial Crimes Enforcement Network is right in the middle of
these two aspects of exploiting financial information We have been
learning about, understanding and exploiting financial information for
fourteen years. My job is clear: to lead FinCEN in a direction that ensures
we are the gold standard when it comes to collecting, understanding,
analyzing, employing, and disseminating financial information to combat
terrorism and financial crime. Let me tell you what I have found in my first

150 days on the job.

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I have found an agency populated with highly motivated employees
with diverse, and in many ways, specialized talents and skills Who are very
dedicated to FinCEN and its mission. But, I have also found an agency that
is facing many significant challenges

Let me highlight a couple of specifics An important and fundamental
challenge facing FinCEN relates to the security and dissemination of the
data we have been charged with safeguarding: the data collected under the
Bank Secrecy Act. FinCEN must ensure that this data is properly collected,
is kept secure and is appropriately, efficiently, and securer disseminated to
the law enforcement, intelligence and regulatory agencies This is one of
FinCEN’s core responsibilities We believe our “BSA Direct” project,
Which is discussed at length in my statement, will address many of these
issues. In my view, this project is critical to our future success.

Another of FinCEN’s core responsibilities relates to the
administration of the Bank Secrecy Act. As you know, FinCEN is the
delegated administrator of the Bank Secrecy Act. Through that delegation,
FinCEN is answerable to the Secretary of the Treasury for ensuring that the
ultimate goals of this Act are achieved. While We eagerly accept this
responsibility, the responsibility is not ours alone. The federal bank

regulators, as well as other agencies such as the Securities and Exchange

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Commission, the Commodities Futures Trading Commission and the
Intemal Revenue Service have been delegated responsibility to supervise
and examine financial institutions for Bank Secrecy Act compliance
Indeed, presently, implementation of the Bank Secrecy Act’s regulatory
regime involves eight different federal agencies and three SROS. This
unusual structure is both a strength and a weakness The weaknesses are
obvious and, sometimes, are clearly manifested To diffuse responsibility
across so many bureaucracies can cause, and indeed on occasion has caused,
inconsistency in application, lack of clarity of purpose and, most
importantly, diffusion of accountability However, if managed properly, this
structure can also be a strength because it builds upon the existing expertise,
knowledge base and examination functions of the regulators who know their
industries best. This structure leverages resources where resources would
otherwise be completely insufficient and possibly duplicative

I view it as my responsibility to work with my colleagues in these
agencies to help manage this structure in a manner that builds on the
strengths that our diverse partners bring to the table. In other words,
administration of the Bank Secrecy Act means exercising oversight,
coordination and ensuring consistency of application. In my view, of all the

challenges facing FinCEN, there are no challenges as important as the

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proper and appropriate implementation of the Bank Secrecy Act regulatory
regime. We have several ideas on how to better manage and coordinate the
implementation of this regulatory regime. The specifics of those priorities
and ideas are set forth in my written statement, so I will not recite them here.
What I want you to know, Madam Chairman, is that l clearly understand
how important this set of issues is to the success of our country’s anti-money
laundering and counter-terrorist financing efforts.

The implementation of this risk-based regulatory system is a delicate
matter that demands balance, consistency and clarity. The cornerstone of the
Bank Secrecy Act, suspicious activity reporting, requires financial
institutions to make judgment calls. If` We fail in properly implementing this
regime - if we get it wrong - then the system will fail. For example, if as
regulators, we are either too aggressive or too passive in supervising and
examining the financial industries we regulate, there could be two equally
unacceptable outcomes. Compliance should not be about second guessing
individual judgment calls on whether a particular transaction is suspicious.
If we are overzealous in our supervision and examination, financial
institutions, as “small ‘c”’ conservative institutions, will merely defensively
file on anything and everything to protect themselves from regulatory risk.

If, on the other hand, we are too lax when it comes to ensuring institutions

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are implementing these programs, proper reporting will not be generated
Either scenario represents a failure. Madam Chairman and distinguished
members of the Committee, you should know that you have my
commitment, and the commitment of the women and men at FinCEN, to do
all in our power to ensure the implementation of this critical regulatory
regime does not fail.

Again, Madam Chairman, we appreciate this Committee’s
continued support and focus on these critical issues. I hope our presence
here today will add to this important conversation I will be happy to answer

any questions you may have.

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